                Case 23-10831-MFW              Doc 938       Filed 01/30/24        Page 1 of 4




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:
                                                          Chapter 11
                                      1
 Lordstown Motors Corp, et al.,
                                                          Case No. 23-10831 (MFW)
                           Debtors.
                                                          (Jointly Administered)

                                                          Re: Docket No. 893



      CERTIFICATE OF NO OBJECTION REGARDING FIFTH MONTHLY FEE
        APPLICATION OF KURTZMAN CARSON CONSULTANTS LLC, AS
     ADMINISTRATIVE ADVISOR TO THE DEBTORS, FOR THE PERIOD FROM
       NOVEMBER 1, 2023 THROUGH AND INCLUDING NOVEMBER 30, 2023

          The undersigned hereby certifies that, as of the date hereof, they have received no answer,

objection, or other responsive pleading with respect to the fifth monthly fee application for

compensation and reimbursement of expenses (the “Monthly Application”) of Kurtzman Carson

Consultants LLC (the “Applicant”) listed on Exhibit A attached hereto. The Monthly Application

was filed with the United States Bankruptcy Court for the District of Delaware (the “Court”) on

January 9, 2024. The undersigned further certifies that they have reviewed the Court’s docket in

this case and no answer, objection or other responsive pleading to the Monthly Application appears

thereon. Pursuant to the Notice of Fee Application filed with the Monthly Application, objections

to the Monthly Application were to be filed and served no later than January 29, 2024 at 4:00

p.m. (ET). The Monthly Application was filed and served in accordance with the Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for Chapter




          1
           The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
             Case 23-10831-MFW           Doc 938      Filed 01/30/24    Page 2 of 4




11 Professionals and Committee Members, entered July 25, 2023 [D.I. 181] (the “Interim

Compensation Order”).

       Consequently, pursuant to the Interim Compensation Order, the debtors and debtors in

possession in the above-captioned cases are authorized to pay Applicant eighty percent (80%) of

the fees and one hundred percent (100%) of the expenses requested in the Monthly Application

upon the filing of this certification without the need for a further order of the Court. A summary

of the fees and expenses sought by Applicant is annexed hereto as Exhibit A.

Dated: January 30, 2024
Wilmington, Delaware

Respectfully submitted,

 /s/ Morgan L. Patterson
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                                                2
Case 23-10831-MFW   Doc 938     Filed 01/30/24   Page 3 of 4




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                              Counsel to Debtors and
                              Debtors in Possession




                         3
                                   Case 23-10831-MFW     Doc 938   Filed 01/30/24   Page 4 of 4




                                                          EXHIBIT A

                                                 Professional Fees and Expenses
                                                    Monthly Fee Application

    Applicant         Fee Application    Total Fees      Total       Objection      Amount of Amount of         Amount of
                       Period, Filing    Requested     Expenses      Deadline:         Fees      Expenses      Holdback Fees
                         Date, D.I.                    Requested                    Authorized Authorized       Requested
                                                                                    to be Paid to be Paid at
                                                                                     @ 80%         100%
    Kurtzman                11/1/23 –    $14,552.96      $0.00        1/29/24       $11,642.37     $0.00         $2,910.59
     Carson                 11/30/23
 Consultants LLC            D.I. 893




WBD (US) 4868-4363-4849v1
